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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                       Plaintiff,

                                                                       ORDER

                                                                       05-CR-6161L

                       v.

JOHN NICOLO, DAVID FINNMAN and
CONSTANCE ROEDER,



                              Defendants.
________________________________________________


       By letter dated March 4, 2008, submitted by facsimile, counsel for defendant John Nicolo

requested the Court to reconsider its prior decision denying defendant’s request that he and his

physicians testify via video conference concerning defendant’s recent request to adjourn the trial for

three months. The request is denied.

       At this late date, a hearing is necessary to deal with the request for the continuance, based

on alleged medical issues, and that should be by “live” testimony in open court, subject to cross-

examination.

       If defendant Nicolo declines or refuses to testify in support of his motion, then the Court will

decide the motion based on the evidence presented.
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       The Court’s staff had suggested several dates for this hearing and March 5 was one of those

dates. Defense counsel never confirmed with the Court’s staff that March 5 was an agreeable date

and that he was ready to proceed on that day or any other date, until the Court received the above-

referenced fax letter at 12:09 p.m. on March 4, 2008.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge


Dated: Rochester, New York
       March 4, 2008.




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